         Case 3:20-cv-00116-DPM Document 40 Filed 11/05/20 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   NORTHERN DIVISION

SHUNDA WILKINS, DIANN
GRAHAM, and DAVID WATSON, on
behalf of themselves and all others
similarly situated,

                Plaintiffs,                              Case No. 3:20-cv-00116-DPM

       vs.

SIMMONS BANK,

               Defendant.

                                  FED. R. EVID. 502 ORDER

       The production of privileged or work-product protected documents, electronically stored

information ("ESI") or information, whether inadvertent or otherwise, is not a waiver of the

privilege or protection from discovery in this case or in any other federal or state proceeding.

This Order shall be interpreted to provide the maximum protection allowed by Federal Rule of

Evidence 502(d).

       Nothing contained herein is intended to or shall serve to limit a party ' s right to conduct a

review of documents, ESI or information (including metadata) for relevance, responsiveness or

segregation of privileged or protected information before production.

       SO ORDERED this the !fH--. day of NoVe~ , 2020.



                                              D. P. MARSHALL, Jfl.
                                              UNITED STATES DISTRICT JUDGE
